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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


 HECTOR GALICIA CUEVAS,                             Case No. 25‐CV‐528 (NEB/DLM)

               Petitioner,

 v.                                             ORDER ACCEPTING REPORT AND
                                                    RECOMMENDATION
 WARDEN, FCI SANDSTONE,

               Respondent.



      The Court has received the March 11, 2025 Report and Recommendation of United

States Magistrate Judge Douglas L. Micko. (ECF No. 9.) No party has objected to that

Report and Recommendation, and the Court therefore reviews it for clear error. See 28

U.S.C. § 636(b); Fed. R. Crim. P. 59(b); D. Minn. LR 72.2; Grinder v. Gammon, 73 F.3d 793,

795 (8th Cir. 1996) (per curiam). Finding no clear error, and based upon all the files,

records, and proceedings in the above‐captioned matter, IT IS HEREBY ORDERED

THAT:

      1.     The Report and Recommendation (ECF No. 9) is ACCEPTED;

      2.     Petitioner Hector Galicia Cuevas’s Petition for a Writ of Habeas Corpus

             (ECF No. 1) is DENIED; and

      3.     The matter is DISMISSED.
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      LET JUDGMENT BE ENTERED.



Dated: April 10, 2025                   BY THE COURT:

                                        s/Nancy E. Brasel
                                        Nancy E. Brasel
                                        United States District Judge




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